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   7                        UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
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  10   DEVIN MICHAEL SMITH,                         Case No. 2:20-cv-05845-DSF-AFM
  11                       Plaintiff,
                                                    ORDER ACCEPTING FINDINGS
  12          v.                                    AND RECOMMENDATIONS OF
  13                                                UNITED STATES MAGISTRATE
       METROPOLITAN STATE
                                                    JUDGE
  14   HOSPITAL, et al.,
  15                       Defendants.
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  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Report and
  18   Recommendation of United States Magistrate Judge. The time for filing Objections
  19   to the Report and Recommendation has passed and Objections have not been
  20   received. The Court accepts and adopts the Magistrate Judge’s Report and
  21   Recommendation.
  22         IT THEREFORE IS ORDERED that Judgment be entered dismissing this
  23   action without prejudice for failure to prosecute.
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  25   DATED: November 22, 2021
  26                                          Honorable Dale S. Fischer
  27                                          UNITED STATES DISTRICT JUDGE

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